Case 1:16-cv-23064-DPG Document 173 Entered on FLSD Docket 11/06/2020 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 1:16-cv-23064-DPG/Otazo-Reyes

  FRANCOIS ALEXANDRE,

         Plaintiff,

  v.

  CITY OF MIAMI, JOSUE HERRERA,
  JAVIER ORTIZ, RUBEN ROJAS, MAGDIEL
  PEREZ, CHRISTOPHER D. VITAL,
  FOUR UNIDENTIFIED CITY OF MIAMI POLICE
  OFFICERS AND CHIEF OF POLICE
  RODOLFO LLANES,

        Defendants.
  ____________________________________________/



                      DEFENDANT JAVIER ORTIZ’S UNOPPOSED MOTION
                            FOR ENTRY OF FINAL JUDGMENT

         Defendant, JAVIER ORTIZ, by and through undersigned counsel and pursuant to the

  Eleventh Circuit Court of Appeal’s October 10, 2019, decision and Fed. R. Civ. P. 54 hereby

  moves for entry of a final judgment in favor of Defendant and states in support the following:

  1.     This suit arose from allegations, as pertinent here, of excessive force used by several

  police officers, including Defendant, against Plaintiff.

  2.     On December 15, 2017, Defendant filed a motion for summary judgment, as did some of

  his co-defendant officers. In their respective motions, they all argued they were entitled to the

  protections of qualified immunity. As for Defendant, a finding of entitlement to qualified

  immunity would have defeated all claims against him stemming from the Complaint.

  3.     The district court denied these qualified-immunity arguments on June 1, 2018.
Case 1:16-cv-23064-DPG Document 173 Entered on FLSD Docket 11/06/2020 Page 2 of 5
                                                                              Alexandre v. City of Miami, et al.
                                                     District Court Case No.: 1:16-cv-23064-DPG/Otazo-Reyes
                                                                                                       Page 2

  4.     Defendant, and two of his co-defendant officers, took an interlocutory appeal of this

  denial to the Eleventh Circuit Court of Appeals.

  5.     On October 10, 2019, the Eleventh Circuit Court of Appeals released its opinion, in

  which it reversed the denial of qualified immunity to Defendant but upheld it for the two other

  officers. Alexandre v. Ortiz, 789 Fed. Appx. 169, 171 (11th Cir. 2019). The opinion directed the

  district court to grant Defendant’s motion for summary judgment. Id. at 177.

  6.     Pursuant to that opinion’s directive, the claims against Defendant are to be dismissed

  with prejudice.

  7.     Federal R. Civ. P. 54(b) provides a court may enter final judgment where, when multiple

  parties are involved, a claim against one party but not all parties has been resolved and there is

  no just reason to delay entry of the judgment.

  8.     The undersigned was advised by Henry Hunnefeld, Esq., counsel for other defendants in

  this case, that the Court desires a final judgment be entered in this case so as to remove

  Defendant Ortiz from the proceedings.

  9.     Therefore, based on the Appellate Court ruling and the directive by this Honorable Court

  conveyed by Henry Hunnefeld, Esq. Defendant Javier Ortiz respectfully submits this motion and

  a proposed final judgment for consideration and entry.

  10.    Pursuant to Local Rule 7.1, the undersigned has sent this motion and a proposed order to

  all other parties, none of whom has an objection.

         WHEREFORE, based upon the foregoing, Defendant Javier Ortiz requests this

  Honorable Court enter a Final Judgment closing the case regarding his claim.
Case 1:16-cv-23064-DPG Document 173 Entered on FLSD Docket 11/06/2020 Page 3 of 5
                                                                           Alexandre v. City of Miami, et al.
                                                  District Court Case No.: 1:16-cv-23064-DPG/Otazo-Reyes
                                                                                                    Page 3

                                    MEMORANDUM OF LAW

         This Honorable Court has discretion to manage its docket and enter final judgments and

  close matters as it deems appropriate. The above-captioned case resulted in a decision in favor

  of Officer Javier Ortiz. The undersigned has learned that this Court requested a proposed Final

  Judgment so one can be entered on behalf of Javier Ortiz. Final Judgments are entered pursuant

  to Fed.R.Civ.P. 54. The Rule states in part, as follows:

         RULE 54 JUDGMENT; COSTS

         (a)     Definition; Form. “Judgment” as used in these rules includes a decree and any
         order from which an appeal lies. A judgment should not include recitals of pleadings, a
         master’s report, or a record of prior proceedings.

         (b)      Judgment on Multiple Claims or Involving Multiple Parties. When an action
         presents more than one claim for relief – whether as a claim, counterclaim, crossclaim, or
         third-party claim – or when multiple parties are involved, the court may direct entry of a
         final judgment as to one or more, but fewer than all, claims or parties only if the court
         expressly determines that there is no just reason for delay. Otherwise, any order or other
         decision, however designated, that adjudicates fewer than all the claims or the rights and
         liabilities of fewer than all the parties does not end the action as to any of the claims or
         parties and may be revised at any time before the entry of a judgment adjudicating all the
         claims and all the parties’ rights and liabilities.


  The entry of Judgment for Javier Ortiz is appropriate considering the circumstances. The case

  regarding Mr. Ortiz has been litigated to completion. The undersigned respectfully requests the

  proposed Final Judgment submitted with this motion be entered on behalf of Javier Ortiz.
Case 1:16-cv-23064-DPG Document 173 Entered on FLSD Docket 11/06/2020 Page 4 of 5
                                                                           Alexandre v. City of Miami, et al.
                                                  District Court Case No.: 1:16-cv-23064-DPG/Otazo-Reyes
                                                                                                    Page 4

         I HEREBY CERTIFY that on this 6th day of November, 2020, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

  who are not authorized to receive electronically Notices of Electronic Filing.


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Case 1:16-cv-23064-DPG Document 173 Entered on FLSD Docket 11/06/2020 Page 5 of 5
                                                                      Alexandre v. City of Miami, et al.
                                             District Court Case No.: 1:16-cv-23064-DPG/Otazo-Reyes
                                                                                               Page 5

                                       SERVICE LIST
                               1:16-cv-23064-DPG/Otazo-Reyes


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